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     MARY BILEK vs NATIONAL CONGRESS OF EMPLOYERS
     Sean Duffie - October 3, 2019                                                1

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
·2· · · · · · · · · · · ·EASTERN DIVISION

·3

·4· ·MARY BILEK, individually· · · · )
· · ·and on behalf of others· · · · ·)Case No. 1:18-cv-03083
·5· ·similarly situated,· · · · · · ·)
· · · · · · · · · · · · · · · · · · ·)
·6· · · · · · · · · · Plaintiff,· · ·)
· · · · · · · · · · · · · · · · · · ·)
·7· · · · · · · · · · · · · · · · · ·)
· · ·v.· · · · · · · · · · · · · · · )
·8· · · · · · · · · · · · · · · · · ·)
· · ·NATIONAL CONGRESS OF EMPLOYERS, ) Hon. Judge
·9· ·INC., NATIONAL BENEFIT BUILDERS ) Charles R. Norgle, Sr.
· · ·INC., ACCESSONE CONSUMER HEALTH,)
10· ·INC., UNIFIED LIFE INSURANCE· · ) Hon. Mag. Judge
· · ·COMPANY, HEALTH INSURANCE· · · ·) Jeffrey T. Gilbert
11· ·INNOVATIONS, INC., and DOES· · ·)
· · ·1-10,· · · · · · · · · · · · · ·)
12· · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · Defendants.· · )
13· ·---------------------------------

14· · · · · · · · · · · · · · ·Brickell Key Court Reporting
· · · · · · · · · · · · · · · ·701 Brickell Avenue, Ste 1550
15· · · · · · · · · · · · · · ·Miami, Florida· 33131
· · · · · · · · · · · · · · · ·Thursday October 3, 2019
16· · · · · · · · · · · · · · ·9:00 a.m. - 11:50 a.m.

17· · · · · · · · · · · · DEPOSITION

18· · · · · · · · · · · · · · OF

19· · · · · · · · · · · ·SEAN DUFFIE

20

21· · · · · · ·Taken before Aleida Vazquez, Court Reporter

22· ·and Notary Public in and for Dade County, State of

23· ·Florida at Large, Pursuant to Notice of Taking

24· ·Deposition.

25
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·1· · · · Q.· ·Okay.
·2· · · · A.· ·-- products for.
·3· · · · Q.· ·When you were selling HII insurance, how did
·4· ·that work?
·5· · · · A.· ·Well, you go to the portal.
·6· · · · Q.· ·Okay.
·7· · · · A.· ·And you put in like your date of birth, ZIP
·8· ·code, and, you know, whether they're smokers, whether
·9· ·they have children or not and then pulls up several
10· ·plans and you try to find the best plan to suit that
11· ·client.
12· · · · Q.· ·When you did that, did you also enter like a
13· ·name and an address as part of the process?
14· · · · A.· ·No, just ZIP code.
15· · · · Q.· ·ZIP code.
16· · · · A.· ·ZIP code, date of birth, whether smoked in the
17· ·last 12 months, you know, whether they have a spouse,
18· ·children.· And then it would give you a quote in that
19· ·area for several different policies.
20· · · · Q.· ·And when you say HII portal, tell me what does
21· ·that mean?
22· · · · A.· ·You have to log in.· So once you logged in,
23· ·you go to like a quoting screen and you quote and that
24· ·way you can pull up the different plans in that person's
25· ·area to see what plan is best for then.




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·1· · · · Q.· ·You mean like you log in on the Internet?
·2· · · · A.· ·Right.
·3· · · · Q.· ·And is that just with a regular browser or was
·4· ·there like a special application you had to install on
·5· ·your computer for it?
·6· · · · A.· ·No, you just go through one of the web
·7· ·browsers.
·8· · · · Q.· ·Okay.· And so did each agent have an
·9· ·individual log in?
10· · · · A.· ·Correct.
11· · · · Q.· ·Okay.· And so for example what was your, your
12· ·log in name?
13· · · · A.· ·I don't recall.· I use so many different ones
14· ·for different insurance carriers, I don't remember what
15· ·it was.
16· · · · Q.· ·Okay.
17· · · · A.· ·But you have to log in with your password, and
18· ·you go in and you get your quotes.
19· · · · Q.· ·Okay.· So you rattled off a few bits of
20· ·information that are taken at the beginning of the phone
21· ·call, but I didn't write them down.· I think you said
22· ·ZIP code?
23· · · · A.· ·ZIP code, date of birth, whether smokers,
24· ·nonsmoker and then whether they have spouse or
25· ·dependents.




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·1· · · · Q.· ·Okay.· Anything else you can remember in that
·2· ·first round?
·3· · · · A.· ·That's all you needed.
·4· · · · Q.· ·Okay.· And so you enter that information and
·5· ·you probably like press search or something like that on
·6· ·HII's portal?
·7· · · · A.· ·Yeah, you hit quote.
·8· · · · Q.· ·Okay.· And after you hit quote, then what do
·9· ·you see?
10· · · · A.· ·You see all the plans in that person's area.
11· · · · Q.· ·Okay.· And did HII's portal present competing
12· ·insurance plans in the same quote?
13· · · · A.· ·They had different insurance companies.
14· · · · Q.· ·They did.· So when you were working with HII,
15· ·what are some of the insurance companies that you
16· ·remember sometimes were quoted?
17· · · · A.· ·Well, you had like Vitalacare.· You had
18· ·Consolicare, Health Choice plus.
19· · · · Q.· ·What about Unified Life Insurance?
20· · · · A.· ·I don't recall that one.
21· · · · Q.· ·What about?
22· · · · · · ·MR. OORBEEK:· Could you repeat that one.· I'm
23· ·sorry, I couldn't hear what you said about Unified Life?
24· · · · · · ·MR. ADAR:· He doesn't recall.
25· · · · · · ·MR. OORBEEK:· Doesn't recall, okay.




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·1· ·BY MR. BURKE:
·2· · · · Q.· ·Well, say the quote is successful, the person
·3· ·is interested in one of these policies or multiple
·4· ·policies, then what would you do as the agent?
·5· · · · A.· ·We fill out the application, send them the
·6· ·verification.
·7· · · · Q.· ·And the application, does that all happen
·8· ·through the portal, the HII portal?
·9· · · · A.· ·It's all electronic.
10· · · · Q.· ·Okay.· Through HII's portal?
11· · · · A.· ·Through that quoting system.
12· · · · Q.· ·Okay.· So what was the additional information
13· ·that you had to input into HII's portal in order to find
14· ·coverage?
15· · · · A.· ·Well, you know, you had to put in their
16· ·personal information and billing information so you can
17· ·send out the policy to them.
18· · · · Q.· ·And is it accurate to say that the policy
19· ·information is sent to the consumer through e-mail by
20· ·HII?
21· · · · A.· ·Can you rephrase the question?
22· · · · Q.· ·How did HII communicate the insurance quotes
23· ·to consumers arising from these --
24· · · · A.· ·Well, they send the e-mail over so they can --
25· ·because the client has to sign off on it, so they see




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·1· ·everything there.
·2· · · · Q.· ·Okay.· So, is it accurate to say that HII
·3· ·sends the consumer an e-mail with a link that contains
·4· ·the information necessary to bind coverage?
·5· · · · A.· ·How it works is they send over the link,
·6· ·client clicks on the link, they check all boxes, type in
·7· ·their name and hit submit.
·8· · · · Q.· ·Okay.· And who sends the e-mail to the
·9· ·consumer is it HAA or HII?
10· · · · A.· ·Well, when we're filling everything out, we
11· ·hit submit, that link goes to the consumer.
12· · · · Q.· ·Okay.
13· · · · A.· ·We hit submit to send the link through them,
14· ·through that quoting system.
15· · · · Q.· ·Through the HII quoting system?
16· · · · A.· ·Through their quoting system, yeah.
17· · · · Q.· ·And --
18· · · · A.· ·Yes.
19· · · · Q.· ·At what time does the consumer have to pay?
20· · · · A.· ·I would assume once they hit submit and agree
21· ·to their policy.
22· · · · Q.· ·So did your office at HAA ever take checking
23· ·or credit card information from consumer?
24· · · · A.· ·Us as agent do.
25· · · · Q.· ·Okay.· During that first live call, the live




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·1· ·So it just really depended if that's what felt and
·2· ·suited them or if it was affordability, then we would go
·3· ·to that.· But, you know, we try to really offer the best
·4· ·plan for them in that state, so.· But I mean, let's say
·5· ·in a particular state you may not have all three there,
·6· ·you may just have one of them there.· So it just depends
·7· ·on which state it was.
·8· · · · Q.· ·Okay.· So, do you remember for Illinois what
·9· ·carriers were quoted?
10· · · · A.· ·That's a good question.· I don't recall
11· ·exactly, but I mean, you know, any one of the carriers
12· ·that we offer could have been there.
13· · · · Q.· ·Through HII I'm talking about.
14· · · · A.· ·Through HII, it could have been Healthcare
15· ·Plus or Vitalacare, maybe Consolicare, I'm not really
16· ·sure the answer to that.
17· · · · Q.· ·Who would know the answer to that, HII?
18· · · · A.· ·I mean HII would know.· I mean, I could tell
19· ·you if I was able to log in and just check, but I can't
20· ·do that anymore, so, yeah, HII would probably know.
21· · · · Q.· ·So if your log in was made active then you
22· ·think probably you could show me what the -- what it all
23· ·looked like and what the carriers were?
24· · · · A.· ·If it's still available, I mean, things always
25· ·change, so.




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·1· ·HII is an administrator, isn't it?
·2· · · · A.· ·Third party administrator, yes.
·3· · · · Q.· ·Okay.· And what were HII's duties as third
·4· ·party administrator for Duffie Insurance, what did they
·5· ·do for you guys?
·6· · · · A.· ·They provided us with the portal to offer
·7· ·different insurance carriers, products.
·8· · · · Q.· ·Did they provide you with the quotes from
·9· ·those insurance carriers?
10· · · · A.· ·On their portal?
11· · · · Q.· ·Yes.
12· · · · A.· ·That's where the quotes came from, that's
13· ·correct.
14· · · · Q.· ·And HII also provided the quotes for the add
15· ·on services, is that right?
16· · · · A.· ·On their portal, it was also there as well.
17· · · · Q.· ·Okay.
18· · · · A.· ·There was other add on products for carriers
19· ·and other third party administrators that we also used
20· ·as well.
21· · · · Q.· ·And HII knew the state in which the consumer
22· ·that was being quoted lived when it provided the quotes
23· ·for insurance, right?· Because it had the ZIP code.
24· · · · A.· ·Correct, so when you put in the ZIP code it's
25· ·going to bring up the quote for that state, specific.




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·1· · · · · · ·(Thereupon, a break was taken.)
·2· · · · · · ·MR. BURKE:· Let's go back on.
·3· ·BY MR. BURKE
·4· · · · Q.· ·Okay.· So did Duff Insurance have a direct
·5· ·relationship with HII?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·So --
·8· · · · A.· ·It's me directly.
·9· · · · Q.· ·It was you directly?
10· · · · A.· ·It wasn't the agency, it was me individually.
11· · · · Q.· ·It was you individually.· And then was there a
12· ·relationship between HAA and HII as well?
13· · · · A.· ·It was through me.· Mike was my partner, so.
14· · · · Q.· ·Right.· So is it possible there was some sort
15· ·of contract or formal relationship also between HAA and
16· ·HII as far as you know?
17· · · · A.· ·As far as I know, I wouldn't know about that,
18· ·but I know for me, me and him were involved with that
19· ·under my contract.
20· · · · Q.· ·Okay.
21· · · · A.· ·So he would take half of my profits.
22· · · · Q.· ·Right.· How did HII make money?
23· · · · · · ·MR. ABRAHAMY:· Object to the form.
24· · · · · · ·THE WITNESS:· I really don't know.
25· ·BY MR. BURKE:




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